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17                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
18
19    Federal Trade Commission,
                                                  No. 8:20−cv−287
20
                  Plaintiff,
21                                                Plaintiff’s Noticed Ex Parte
            vs.                                   Application for Temporary
22
                                                  Restraining Order and Order to
23    OTA Franchise Corporation, et al.,          Show Cause Why a Preliminary
24                                                Injunction Should Not Issue
                  Defendants.
25
26
27          Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure and Local

28    Civil Rules 65-1 and 7-19, Plaintiff, the Federal Trade Commission (“FTC”),

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1     hereby applies to this Court for a noticed ex parte temporary restraining order
2     (“TRO”) with an asset freeze, appointment of a temporary receiver, and other
3     equitable relief. In support of this application, the FTC states the following:
4             1.   As alleged in the Complaint, and described more fully in Plaintiff’s
5     Memorandum of Law in Support of the TRO Application and accompanying ex-
6     hibits, Defendants are engaged in a nationwide fraudulent scheme claiming to offer
7     consumers a money-making trading strategy. Defendants target older consumers,
8     and represent that consumers are likely to earn substantial income trading with De-
9     fendants’ “patented strategy,” if they purchase Defendants’ expensive “training.”
10    Defendants have no reasonable basis to support this representation as they do not
11    track the trading performance of their customers. In reality, most purchasers do not
12    make the advertised income. Indeed, many, if not most, lose money, and numerous
13    purchasers are additionally mired in high interest debt Defendants induced them to
14    take out to fund their purchases. Numerous purchasers paid Defendants tens of
15    thousands of dollars, with some paying $50,000 or more. Many victims affected
16    by this scheme are older consumers with limited ability to replace their lost sav-
17    ings.
18            2.   Defendants have been aware of the FTC’s fraud investigation for near-
19    ly a year. That knowledge, however, did not lead Defendants to curtail their decep-
20    tive practices. As a result, consumers continue to be harmed by Defendants’ ongo-
21    ing unlawful conduct.
22            3.   Defendants’ deceptive practices violate Section 5(a) of the FTC Act,
23    15 U.S.C. § 45(a) and the Consumer Review Fairness Act of 2016, 15 U.S.C § 45b.
24            4.   The FTC therefore seeks an ex parte TRO:
25                 a)     Temporarily restraining Defendants from misrepresenting or as-
26                        sisting others in misrepresenting, expressly or by implication,
27                        any material fact in connection with the advertising, marketing,
28                        promoting, or offering for sale of any goods or services, includ-

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1                         ing, specifically, by making false or unsubstantiated earnings
2                         claims, and from unlawfully inhibiting consumers’ ability to re-
3                         view and share information about Defendants and their services
4                         with law enforcement agencies and others;
5                  b)     Appointing a temporary Receiver over the Corporate Defend-
6                         ants;
7                  c)     Temporarily freezing the Corporate Defendants’ assets;
8                  d)     Restraining and enjoining Defendants and certain third parties
9                         from destroying or concealing documents, and from transfer-
10                        ring, concealing, or otherwise disposing of assets;
11                 e)     Requiring Defendants to identify all assets, repatriate Corporate
12                        Defendants’ assets located outside the United States, and make
13                        an accounting of their present financial condition and certain
14                        business information;
15                 f)     Requiring Corporate Defendants to provide immediate access to
16                        their business premises for inspection and preservation of evi-
17                        dence;
18                 g)     Providing other equitable relief; and
19                 h)     Requiring Defendants to show cause why this Court should not
20                        issue a preliminary injunction extending such temporary relief
21                        pending adjudication on the merits.
22          5.     The FTC provided notice of this application to Defendants. As de-
23    tailed in the accompanying Certification and Declaration of FTC counsel Thomas
24    Biesty, Defendants have known of the FTC’s fraud investigation for nearly a year,
25    have known that the FTC intended to file this action for nearly two weeks, have
26    been provided with a draft copy of the FTC’s complaint, and were explicitly noti-
27    fied of the FTC’s intent to seek a TRO on February 11, 2020. Defendants oppose
28    this application.

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1           6.    Lodged concurrently is a proposed TRO.
2           WHEREFORE, the FTC respectfully requests that this Court grant this
3     application by entering the proposed TRO.
4                                                 Respectfully submitted,
5
                                                  ALDEN F. ABBOTT
6                                                 General Counsel
7
8           Dated: February 12, 2020                /s/ Thomas M. Biesty
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1                             CERTIFICATE OF SERVICE
2           I hereby certify that on February 12, 2020, I caused a copy of the foregoing
3     Plaintiff’s Noticed Ex Parte Application for Temporary Restraining Order and
4     Order to Show Cause Why a Preliminary Injunction Should Not Issue to be served
5     on all parties in the manner specified below:
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23
                                                         /s/ Thomas M. Biesty
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